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                                                                         12/4/22, 5:41 PM
Jeni Shea (4804403413)

Loved “Lol we will call it
HK without the the kandy ”

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Hahahahahaa H

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Lol we will call it
                                                                 HK without the the kandy

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Lol yep

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Yep! And skin care

                                                                         12/4/22, 5:40 PM
Jeni Shea (4804403413)

And shirts

                                                                         12/4/22, 5:40 PM
Jeni Shea (4804403413)

And nails

                                                                         12/4/22, 5:40 PM
Jeni Shea (4804403413)

And lashes

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Hahaha

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 So we could do make up

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 So I can sell everything but hair fyi

                                                                         12/4/22, 5:40 PM
                                                                 Kayla’s iPad

                                                                 Laughed at “I can’t wait to see him curl his little Jewish sid…”

                                                                         12/4/22, 5:39 PM
Jeni Shea (4804403413)

I can’t wait to see him curl his little Jewish sideburns on a live to keep customers

                                                                         12/4/22, 5:39 PM
                                                                 Kayla’s iPad

                                                                 Yep!

                                                                         12/4/22, 5:39 PM
7192073646

Jerome is a fucking greedy pig!



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                                                                        EXHIBIT 18                                                  KM3380
